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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK


 UNITED STATES OF AMERICA,

              -   v. -                                                  ORDER

 STEVEN ANTONIUS,                                                   18 Cr. 601 (PGG)

                            Defendant.


PAUL G. GARDEPHE, U.S.D.J.:

               It is hereby ORDERED that the change of plea hearing for Defendant Steven

Antonius previously scheduled for October 26, 2020, at 2:30 p.m. is adjourned to November 2,

2020 at 9:00 a.m. The hearing will proceed telephonically.

               The parties are directed to dial 888-363-4749 to participate, and to enter the

access code 6212642. The press and public may obtain access to the telephone hearing by

dialing the same number and using the same access code. The parties should call in at the

scheduled time and wait on the line for their case to be called. At that time, the Court will un-

mute the parties’ lines. Two days before the hearing, the parties must email

Michael_Ruocco@nysd.uscourts.gov and GardepheNYSDChambers@nysd.uscourts.gov with

the phone numbers that the parties will be using to dial into the conference so that the Court

knows which numbers to un-mute. The email should include the case name and case number in
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the subject line.

Dated: New York, New York
       October 19, 2020
